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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA

BRUNSWICK DIVISION
UNITED STATES OF AMERICA )
Vv. CR 218-47
DONALD ADAMS 5

PLEA AGREEMENT

Defendant, Donald Adams, represented by his counsel Alan D. Tucker, Esq.,
and the United States of America, represented by Assistant United States Attorneys
Greg Gilluly and Jennifer Kirkland, have reached a plea agreement in this case. The
terms and conditions of that agreement are as follows.
1. Guilty Plea

Defendant agrees to plead guilty to Conspiracy to Possess with Intent to
Distribute and to Distribute Controlled Substances, as charged in Count One of the
Indictment. The government will move to dismiss the defendant from the remaining
counts of the indictment at sentencing.
2. Elements and Factual Basis

The elements necessary to prove Count One are as follows:

FIRST: That two or more people in some way agreed to try to accomplish
a shared and unlawful plan to possess a controlled substance;

SECOND: That the defendant knew the unlawful purpose of the plan and
willfully joined in it; and

THIRD: That the object of the unlawful plan was to possess with the intent
to distribute and to distribute a controlled substance.
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Defendant agrees that he is, in fact, guilty of this offense. He agrees to the
accuracy of the following facts, which satisfy each of the offense’s required elements:

Beginning at a time unknown to the Grand Jury, but at least from in or about
September 2017, continuing until on or about January 30, 2018, in Glynn County,
within the Southern District of Georgia, the defendants Donald Adams and Makeda
Atkinson, aided and abetted by each other and others, did knowingly and
intentionally combine, conspire, and agree to possess with intent to distribute and to
distribute a controlled substance, to wit: a mixture and substance containing a
detectable amount of heroin, a mixture and substance containing a detectable amount
of cocaine, a mixture and substance containing a detectable amount of fentanyl, a
mixture and substance containing a detectable amount of hydromorphone, all
controlled substances, in violation of Title 21, United States Code, Sections 846,
841(a)(1), and (b)(1)(C). Furthermore, on December 28, 2017, in Glynn County, the
defendant Donald Adams and Makeda Atkinson, aided and abetted by each other, did
knowingly and intentionally distribute a controlled substance, to wit, a mixture and
substance containing a detectable amount of fentanyl and death resulted from the
use of fentanyl by L. M., in violation of Title 21, United States Code, Sections 841(a)(1)
and (b)(1)(C). On December 28, 2017, in Glynn County, Makeda Atkinson contacted
Donald Adams and instructed him to deliver L.M. “heroin” and hydromorphone.
Atkinson previously provided Adams a quantity of “heroin” to deliver to Atkinson’s
customers. On December 28, 2017, L.M. arrived to purchase the “heroin” and pills,

and received them from Adams. After injecting the “heroin,” she died. Further
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investigation revealed that the substance was in fact a mixture and substance
containing a detectable amount of fentanyl. Atkinson admitted that he instructed
Adams to serve L. M.; and Adams admitted he served L. M. the controlled substance.
3. Possible Sentence

Count One, Conspiracy to Possess with Intent to Distribute and to Distribute
Controlled Substances, carries the following maximum penalties:

-Not more than 20 years of incarceration;

-Not more than a $1,000,000 fine;

-Not less than 3 years of supervised release, up to life; and

-a mandatory $100 special assessment.
4, No Promised Sentence

No one has promised Defendant that the Court will impose any particular
sentence or a sentence within any particular range. The Court is not bound by any
estimate of sentence given or recommendations made by Defendant’s counsel, the
government, the U.S. Probation Office, or anyone else. The Court may impose a
sentence up to the statutory maximum. Defendant will not be allowed to withdraw
his plea of guilty if he receives a more severe sentence than he expects.
5. Court’s Use of Guidelines

The Court is obligated to use the United States Sentencing Guidelines to
calculate the applicable guideline range for Defendant’s offense and to consider that
range, possible departures under the Sentencing Guidelines, and other sentencing
factors under 18 U.S.C. § 3553(a), in determining his sentence. The Sentencing

Guidelines are advisory; the Court is not required to impose a sentence within the

range those Guidelines suggest. The Sentencing Guidelines are based on all of
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Defendant’s relevant conduct, pursuant to U.S.S.G. § 1B1.3, not just the facts
underlying the particular Count to which Defendant is pleading guilty.

6. Agreements Regarding Sentencing Guidelines

a. Acceptance of Responsibility

The government will not object to a recommendation by the U.S. Probation
Office that Defendant receive a two-level reduction in offense level for acceptance of
responsibility pursuant to Section 3E1.1(a) of the Sentencing Guidelines. Ifthe U.S.
Probation Office makes that recommendation, and Defendant’s offense level is 16 or
greater prior to any reduction for acceptance of responsibility, the government will
move for an additional one-level reduction in offense level pursuant to Section
3E1.1(b) based on Defendant’s timely notification of his intention to enter a guilty
plea.

b. Use of Information

The government is free to provide full and accurate information to the Court
and U.S. Probation Office for use in calculating the applicable Sentencing Guidelines
range. Any incriminating information provided by the defendant during his
cooperation will not be used in determining the applicable Guidelines range,
pursuant to U.S.S.G. § 1B1.8.

7. Cooperation

a. Complete and Truthful Cooperation Required

Defendant must provide full, complete, candid, and truthful cooperation in the

investigation and prosecution of the offenses charged in his Indictment and any
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related offenses. Defendant shall fully and truthfully disclose his knowledge of those
offenses and shall fully and truthfully answer any question put to him by law
enforcement officers about those offenses.

This agreement does not require Defendant to “make a case” against any
particular person. His benefits under this agreement are conditioned only on his
cooperation and truthfulness, not on the outcome of any trial, grand jury, or other
proceeding.

b. Motion for Reduction in Sentence Based on Cooperation

The government, in its sole discretion, will decide whether Defendant's
cooperation qualifies as “substantial assistance” pursuant to U.S.S.G. § 5K1.1 or Fed.
R. Crim. P. 35 and thereby warrants the filing of a motion for downward departure
or reduction in Defendant’s sentence. If such a motion is filed, the Court, in its sole
discretion, will decide whether, and to what extent, Defendant’s sentence should be
reduced. The Court is not required to accept any recommendation by the government

that the Defendant’s sentence be reduced.
8. Financial Obligations and Agreements

a. Special Assessment

Defendant agrees to pay a special assessment in the amount of $100 per count,
payable to the Clerk of the United States District Court, which shall be due

immediately at the time of sentencing.
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b. Required Financial Disclosures

Following the guilty plea, Defendant shall complete a financial disclosure form
listing all his assets and financial interests, whether held directly or indirectly, solely
or jointly, in his name or in the name of another. Defendant shall sign the financial
disclosure form under penalty of perjury and provide that form to the Financial
Litigation Unit of the United States Attorney’s Office and to the United States
Probation Office. Defendant authorizes the United States to obtain credit reports on
Defendant and to share the contents of those reports with the Court and the United
States Probation Office. Defendant also authorizes the United States Attorney’s
Office to inspect and copy all financial documents and information held by the United
States Probation Office.

C. Financial Examination

Defendant will submit to an examination under oath on the issue of his
financial disclosures and assets if deemed necessary by the United States. Such
examination will occur not later than 30 days after the entry of Defendant's guilty
plea.

d. No Transfer of Assets

Defendant certifies that he has made no transfer of assets in contemplations
of this prosecution for the purpose of evading or defeating financial obligations
created by this Agreement or that may be imposed upon him by the Court at

sentencing. Defendant promises that he will make no such transfers in the future.
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e, Material Change in Circumstances

Defendant agrees to notify the United States of any material change in
circumstances, as described in 18 U.S.C. § 3664(k), that occurs prior to sentencing in
this case. Such notification will be made within seven days of the event giving rise
to the changed circumstances, and in no event later than the date of sentencing.

f. Enforcement

Any payment schedule imposed by the Court is without prejudice to the United
States to take all actions and remedies available to it to collect the full amount of the
financial obligations imposed by the judgment of the Court in this case. Defendant
understands and agrees that the financial obligations imposed by the judgment of the
Court in this case will be placed on the Treasury Offset Program so that any federal
payment that Defendant receives may be offset and applied to the judgment debt

without regard to or affecting any payment schedule imposed by the Court.

g. Forfeiture and Abandonment of Property

The defendant agrees to forfeit and abandon any property that was seized
during this investigation, as outlined in the indictment.
9. Waivers

a. Waiver of Appeal

Defendant entirely waives his right to a direct appeal of his conviction and
sentence on any ground (including any argument that the statute to which the
defendant is pleading guilty is unconstitutional or that the admitted conduct does not

fall within the scope of the statute). The only exceptions are that the Defendant may
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file a direct appeal of his sentence if (1) the court enters a sentence above the statutory
maximum, (2) the court enters a sentence above the advisory Sentencing Guidelines
range found to apply by the court at sentencing; or (3) the Government appeals the
sentence. Absent those exceptions, Defendant explicitly and irrevocably instructs his
attorney not to file an appeal.

b. Waiver of Collateral Attack

Defendant entirely waives his right to collaterally attack his conviction and
sentence on any ground and by any method, including but not limited to a 28 U.S.C.
§ 2255 motion. The only exception is that Defendant may collaterally attack his
conviction and sentence based on a claim of ineffective assistance of counsel.

C. FOIA and Privacy Act Waiver

Defendant waives all rights, whether asserted directly or through a
representative, to request or receive from any department or agency of the United
States any record pertaining to the investigation or prosecution of this case under the
authority of the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act of
1974, 5 U.S.C. § 552a, and all subsequent amendments thereto.

d. Fed. R. Crim. P. 11(f) and Fed. R. Evid. 410 Waiver

Rule 11(f) of the Federal Rules of Criminal Procedure and Rule 410 of the
Federal Rules of Evidence ordinarily limit the admissibility of statements made by a
defendant during the course of plea discussions or plea proceedings. Defendant
knowingly and voluntarily waives the protections of these rules. If Defendant fails

to plead guilty, or his plea of guilty is later withdrawn, all of Defendant’s statements
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in connection with this plea, and any leads derived therefrom, shall be admissible for
any and all purposes.
10. Defendant’s Rights

Defendant has the right to be represented by counsel, and if necessary have
the court appoint counsel, at trial and at every other critical stage of the proceeding.
Defendant possesses a number of rights which he will waive by pleading guilty,
including: the right to plead not guilty, or having already so pleaded, to persist in
that plea; the right to a jury trial; and the right at trial to confront and cross-examine
adverse witnesses, to be protected from compelled self-incrimination, to testify and
present evidence, and to compel the attendance of witnesses.
11. Satisfaction with Counsel

Defendant has had the benefit of legal counsel in negotiating this agreement.
Defendant believes that his attorney has represented him faithfully, skillfully, and
diligently, and he is completely satisfied with the legal advice given and the work
performed by his attorney.
12. Breach of Plea Agreement

Defendant breaches this agreement if, prior to sentencing in his case, he fails
to comply with any of the terms of this agreement, withdraws or attempts to
withdraw his guilty plea, refuses to accept responsibility for his criminal conduct,
obstructs justice, tampers with witnesses or evidence, or commits any new crimes. If
Defendant breaches the plea agreement, the government is released from any

agreement herein regarding the calculation of the advisory Sentencing Guidelines or
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the appropriate sentence. Additionally, such a breach by the defendant will be a
breach of his cooperation agreement, thereby allowing the government to use all
otherwise proffer-protected information at sentencing. In addition, the government
may (1) declare the plea agreement null and void, (2) reinstate any counts that may
have been dismissed pursuant to the plea agreement, and/or (3) file new charges
against Defendant that might otherwise be barred by this plea agreement. Defendant
waives any statute-of-limitations or speedy trial defense to prosecutions reinstated

or commenced under this paragraph.

13. Entire Agreement

This agreement contains the entire agreement between the government and

Defendant.

Signatures on following page

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s/ali4

Date

4-2-4

Date

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Date

BOBBY. CHRABTINE
UNI STATES ATTORNEY

Brian T. Rafferty
New York B
Chief-Crim#nal Division

  
 

 

E. Greg @illuly, Jr.
TN Bar No. 019397
Assistant United States Attorney

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(jennifer Kigelgnd

‘Assistant United States Attorney

Signatures on following page

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I have read and carefully reviewed this agreement with my attorney. I
understand each provision of this agreement, and I voluntarily agree to it. I hereby

stipulate that the factual basis set out therein is true and accurate in every respect.

 

 

Date

I have fully explained to Defendant all of his rights, and I have carefully
reviewed each and every part of this agreement with him. I believe that he fully and
completely understands it, and that his decision to enter into this agreement is an

informed, intelligent, and voluntary-one

 
 
   

 

Alan Tucker
Defendant’s Attorney

at

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA

BRUNSWICK DIVISION
UNITED STATES OF AMERICA )
V. CR 418-47
DONALD ADAMS

The aforesaid Plea Agreement, having been considered by the Court in
conjunction with the interrogation by the Court of the defendant and the
defendant's attorney at a hearing on the defendant's motion to change his plea and
the Court finding that the plea of guilty is made freely, voluntarily and knowingly,
it is thereupon,

ORDERED that the plea of guilty by defendant be, and it is, hereby accepted

and the foregoing Plea Agreement be, and it is, hereby ratified and confirmed.

This 13 day of WA. to 2019.

 

HONORABLE LISA GODBEY WOOD
JUDGE, UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA
